 Case 8:15-cv-00307-JLS-JCG Document 399 Filed 09/10/18 Page 1 of 2 Page ID #:53794




 1
 2
 3
 4
 5
 6
 7
 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10
     ADEL TAWFILIS, D.D.S. D/B/A              Case No. 8:15-cv-00307-JLS-JCG
11   CARMEL VALLEY CENTER FOR
     ORAL AND MAXILLOFACIAL
12   SURGERY AND HAMID A.
     TOWHIDIAN, M.D., On Behalf Of            JUDGMENT
13   Themselves And All Others Similarly
     Situated,
14                                            Judge: Hon. Josephine L. Staton
                 Plaintiffs,                  Courtroom: 10A, 10th Floor
15
           vs.
16
     ALLERGAN, INC.
17
18                 Defendant.
19
20
21
22
23
24
25
26
27
28
 Case 8:15-cv-00307-JLS-JCG Document 399 Filed 09/10/18 Page 2 of 2 Page ID #:53795




 1           For the reasons set forth in the Order Granting Plaintiffs’ Motion For Final
 2   Approval Of Class Settlement and Granting Plaintiffs’ Motion For Attorneys’ Fees,
 3   Costs, And Incentive Awards entered on August 27, 2018 [Dkt. No. 397], all claims
 4   against Defendant Allergan, Inc. are dismissed with prejudice as to the Class
 5   Representatives and as to all Class Members, except those Class Members identified in
 6   Exhibit C to Declaration of Rachel Christman Re: Notice And Settlement Administration
 7   [Dkt. No. 392-3] as having timely requested exclusion from the Class. Except for the
 8   Class Members identified in Exhibit C to the Christman Declaration, each Class Member
 9   shall be deemed to have granted the Released Parties as defined in Section 11(a) of the

10   Settlement Agreement a release of claims in accordance with Sections 11(a)-11(b) of the

11   Settlement Agreement. The Clerk is directed to enter this Final Judgment pursuant to

12   Federal Rule of Civil Procedure 54(a).

13
14   IT IS SO ORDERED.

15
     Dated: September 10, 2018                      ___________________________
16
                                                         Hon. Josephine L. Staton,
17                                                       United States District Judge
18
19
20
21
22
23
24
25
26
27
28                                                 1
     Tawfilis et al. v. Allergan, Inc.,                                                 Judgment
     Case No. 8:15-cv-307-JLS
